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     CIGNA BEHAVIORAL HEALTH, INC.; CIGNA BEHAVIORAL HEALTH OF
14   CALIFORNIA, INC.; CIGNA HEALTH MANAGEMENT, INC.
15                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
16
     THE DISCOVERY HOUSE, LLC;              Case No. 2:22-cv-01418-FLA (MRWx)
17   DISCOVERY TRANSITIONS                  Assigned to the Honorable Fernando L.
     OUTPATIENT, INC.; DHP HEIGHTS, Aenlle-Rocha
18   LLC, doing business as CIRCLE OF
     HOPE; MT GOLDEN CORPORATION,
19   doing business as ADJUSTMENTS          CIGNA DEFENDANTS’ REPLY IN
     FAMILY SERVICES; MT PROCESS            SUPPORT OF MOTION TO DISMISS
20   LLC, doing business as DIVINE DETOX,
                                                [RE-FILED WITH LEAVE OF
21                              Plaintiffs,       COURT PER DKT NO. 53]

22         v.                            [Filed concurrently with Request for
                                         Judicial Notice In Support Of Cigna
     CIGNA CORPORATION; CIGNA            Defendants’ Reply in Support of Motion
23   HEALTH AND LIFE INSURANCE           to Dismiss]
     COMPANY; CONNECTICUT
24   GENERAL LIFE INSURANCE
     COMPANY; CIGNA BEHAVIORAL           Hearing Date:       June 3, 2022
25   HEALTH, INC.; CIGNA BEHAVIORAL Hearing Time:            1:00 p.m.
     HEALTH OF CALIFORNIA, INC.;         Courtroom:          6B
26   CIGNA HEALTH MANAGEMENT,
     INC.; VIANT, INC.; MULTIPLAN, INC.;
27   and DOES 1 through 25, inclusive,
28                           Defendants.

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 1   I.    INTRODUCTION
 2         Plaintiffs’ Opposition does not identify the facts necessary to overcome the
 3   pleading defects in Plaintiffs’ various claims for relief. In their Opposition, Plaintiffs
 4   rely heavily on cherry-picked portions of decisions from similar cases in this District
 5   brought by the same Plaintiffs’ counsel. While those decisions are not binding on this
 6   Court, Plaintiffs’ Opposition neglects to mention that, even in those cases, the courts
 7   rejected several of the same arguments Plaintiffs make here and dismissed claims based
 8   on substantially similar, and in some cases nearly identical, allegations to the ones
 9   Plaintiffs allege in this case. In other instances, to the extent the courts in those cases
10   did not dismiss a particular claim, the plaintiffs’ allegations were far more detailed than
11   Plaintiffs’ allegations here, highlighting the deficiencies in Plaintiffs’ Complaint. In
12   short, to the extent this Court looks to those decisions for guidance, as a whole, they
13   counsel in favor of dismissal of most, if not all, of Plaintiffs’ claims:
14              In Women’s Recovery Center LLC, et al. v. Anthem Blue Cross
                 Life and Health Insurance Company, et al., No. 8:20-cv-00102-
15               JWH-ADS (C.D. Cal. Jan. 17, 2020) (the “Women’s Recovery
                 Action”), Judge Holcomb recently ruled on defendants’ motion
16               to dismiss the second amended complaint, dismissing plaintiffs’
                 claim under ERISA as well as their claims for breach of written
17               contract, breach of the implied covenant of good faith and fair
                 dealing, breach of implied contract, and violation of the UCL.
18
                In TML Recovery, LLC, et al. v. Humana, Inc. et al., No. 8:18-
19               cv-00462-AG-JDE (C.D. Cal. Mar. 22, 2018) (the “Humana
                 TML Action”), Judge Guilford twice dismissed the plaintiffs’
20               complaint in its entirety and, after three iterations of the
                 complaint, dismissed with prejudice plaintiffs’ claims for breach
21               of implied contract, breach of oral contract, promissory estoppel,
                 quantum meruit, and violation of the UCL.
22
                In TML Recovery, LLC, et al. v. Cigna Corporation, et al., No.
23               8:20-cv-00269-DOC-JDE (C.D. Cal. Feb. 11, 2020) (the “Cigna
                 TML Action”), Judge Carter also initially dismissed plaintiffs’
24               complaint in its entirety and again dismissed plaintiffs’ claims
                 for breach of the implied covenant of good faith and fair dealing,
25               breach of implied contract, breach of oral contract, and violation
                 of the UCL.
26
                In In re Out-of-Network Substance Use Disorder Claims Against
27               UnitedHealthcare, No. 8:19-cv-02075-JVS-DFM (C.D. Cal. Oct.
                 31, 2019) (the “UnitedHealthcare Action”), Judge Selna has now
28               ruled on four motions to dismiss. After multiple pleading

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 1                attempts, the court dismissed with prejudice plaintiffs’ claims for
                  breach of the implied covenant of good faith and fair dealing and
 2                breach of implied contract.
 3         Undeterred by the directives from these decisions, Plaintiffs attempt to bring
 4   several of the same defective claims here. The gist of the Complaint is that Cigna did
 5   not pay enough on Plaintiffs’ claims for 175 unidentified patients because the terms of
 6   the applicable, yet unspecified, benefit plans allegedly required Cigna to pay some
 7   amount more. But Plaintiffs fail to identify, among other things, (1) any basic
 8   information about the claims; (2) the terms of the plans that allegedly required Cigna to
 9   pay more; and (3) any conduct or representation that created an obligation, outside the
10   terms of the plans, for Cigna to pay more. None of Plaintiffs’ purported excuses for
11   failing to plead these facts relieves Plaintiffs of their burden to plead them.
12   II.   ARGUMENT
13         A.     Cigna’s Purported “Knowledge” Of The Missing Facts Does Not
                  Relieve Plaintiffs Of Their Obligation Under Rule 8.
14
15         Plaintiffs concede that they have not alleged any details regarding the patients
16   and claims at issue. (Dkt. No. 44 (“Opp.”) at 5.) And Plaintiffs do not dispute that these
17   details are critical pieces of information. Instead, Plaintiffs’ only response is that Cigna
18   already knows the information about the claims at issue because Plaintiffs provided the
19   information to Cigna informally outside of the pleading. (Id.) Plaintiffs offer no
20   authority to suggest that Plaintiffs can satisfy Rule 8 by referencing unpled information
21   separately provided to defendants. Nor do Plaintiffs even attempt to address the long
22   line of authority requiring plaintiffs to include this information in their Complaint. (See
23   Dkt. No. 32-1 (“Mot.”) at 6-7.) Plaintiffs’ insistence that Cigna “knows” which claims
24   are at issue is no excuse for omitting this vital information from their Complaint. See
25   Cnty. of Monterey v. Blue Cross of Cal., No. 17-CV-04260-LHK, 2019 U.S. Dist.
26   LEXIS 13392, at *11-12 (N.D. Cal. Jan. 28, 2019) (rejecting provider plaintiff’s
27   argument that it should not be required to plead information about the claims and
28   patients at issue because defendants are “well aware” of the claims at issue); MedARC,

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  1   LLC v. Cigna Behav. Health of Tex., No. 3:20-CV-3687-N-BH, 2021 U.S. Dist. LEXIS
  2   148963, at *24 (N.D. Tex. July 6, 2021) (rejecting plaintiff’s argument that it should be
  3   excused from pleading details about the claims at issue because it had already provided
  4   those details prior to filing suit and holding that defendants’ “alleged knowledge of the
  5   claims or the plan terms cannot cure these pleading defects”); N. Shore Med. Ctr. v.
  6   Cigna Health & Life Ins. Co., No. 1:20-cv-24914-KMM, 2021 U.S. Dist. LEXIS 88901,
  7   at *11-12 (S.D. Fla. May 10, 2021) (rejecting plaintiff’s argument that providing claims
  8   information through initial disclosures rather than in its pleading was sufficient and
  9   requiring the plaintiff to plead the information in its complaint). Providing the
10    information outside of the pleading process prohibits Cigna from relying on the
11    information in a defensive pleading or motion under Fed. R. Civ. P. 12(b)(6). See J.K.J.
12    v. City of San Diego, 17 F.4th 1247, 1254 (9th Cir. 2021). In short, it does not matter
13    whether Cigna “knows” the facts or not – Plaintiffs must include the key facts that form
14    the basis of their claims in the Complaint.
15          B.     Plaintiffs Fail To Defend Their Claims Under ERISA § 502(a)(1)(B).
16                 1.       Plaintiffs have not alleged facts sufficient to excuse them from
17                          their burden to plead exhaustion of administrative remedies.

18          Plaintiffs do not dispute that exhaustion of administrative remedies is an
19    important prerequisite to seeking relief under ERISA in federal court. Nor do they
20    dispute that exhaustion must be affirmatively pled. Plaintiffs’ only response is that they
21    should be excused from this pleading requirement because (1) they should be “deemed”
22    to have exhausted their administrative remedies; and (2) they have alleged that
23    exhaustion would be “futile.” (Opp. at 8.) Both of these arguments fail.
24          First, Plaintiffs believe that their unsupported conclusion that Cigna “failed to
25    provide Plaintiffs with proper notice of their appeal rights” is sufficient to “deem” their
26    administrative remedies to be exhausted. (Opp. at 9.) It is not. Plaintiffs do not explain
27    whether they believe the provisions in the plan documents, Cigna’s explanation of
28    benefits (“EOBs”), or some other document constitutes the alleged improper notice.
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  1   Absent any factual allegations regarding this purported improper notice, Plaintiffs
  2   cannot be “deemed” to have exhausted their administrative remedies.
  3         Moreover, the only case Plaintiffs rely on for support illustrates this point. In the
  4   UnitedHealthcare Action, the court relied heavily on the precise language in United’s
  5   EOBs in concluding that the language was insufficient to advise plaintiffs of the need
  6   to exhaust their administrative remedies. (Dkt. No. 45 (“Pltfs. RJN”), Ex. A at 7.)
  7   Unlike in the UnitedHealthcare Action, Plaintiffs have failed to include any such
  8   language that this Court might rely on to reach a similar conclusion. Without this
  9   language or any other factual support, Plaintiffs’ allegations are insufficient to excuse
10    Plaintiffs from pleading exhaustion. See Adan v. Kaiser Found. Health Plan, Inc., No.
11    17-cv-01076-HSG, 2018 U.S. Dist. LEXIS 36683, at *20-22 (N.D. Cal. Mar. 6, 2018);
12    Glaus v. Kaiser Found. Health Plan, No. C-09-2232 MMC, 2009 U.S. Dist. LEXIS
13    81089, at *11 (N.D. Cal. Sept. 8, 2009).
14          Second, Plaintiffs have not sufficiently alleged futility. Plaintiffs merely point to
15    their own conclusory allegations regarding Cigna’s purported failure to “provide
16    Plaintiffs with a reasonable opportunity to engage in a meaningful claims process and
17    procedure which was full and fair.” (Opp. at 10.) But this is precisely the type of vague
18    and factually unsupported conclusion that courts in this Circuit have rejected as
19    insufficient to plead futility. See Diaz v. United Agric. Emp. Welfare Benefit Plan &
20    Tr., 50 F.3d 1478,1485 (9th Cir. 1995); Grenell v. UPS Health & Welfare Package, 390
21    F. Supp. 2d 932, 935 (C.D. Cal. 2005); Simi Surgical Ctr., Inc. v. Conn. Gen. Life Ins.
22    Co., No. 2:17-cv-02685-SVW-AS, 2018 U.S. Dist. LEXIS 199045, at *11 n.3 (C.D.
23    Cal. Jan. 4, 2018).1 In fact, in an earlier decision in the UnitedHealthcare Action—the
24    case Plaintiffs rely on—the court dismissed plaintiffs’ ERISA claim for failure to allege
25    administrative exhaustion noting that plaintiffs “merely alleged generally that
26
      1
        The Cigna TML Action, which Plaintiffs rely on, is inconsistent with Diaz and its
27
      progeny, including the recent decision in the UnitedHealthcare Action. (Opp. at 10-11
28    (citing Cigna TML Action, 2021 U.S. Dist. LEXIS 162219, at *15).)

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  1   misconduct rendered exhaustion futile without analyzing the particular details of the
  2   administrative process.” UnitedHealthcare Action, 2020 U.S. Dist. LEXIS 249683, at
  3   *14. Only after the plaintiffs amended their allegations to plead the express language
  4   from the EOBs regarding the alleged improper notice as well as a chart identifying the
  5   exhaustion requirements in the applicable benefit plans was the court satisfied that
  6   plaintiffs were excused from pleading administrative exhaustion. (Pltfs. RJN, Ex. A at
  7   6-7.) Here, by contrast, Plaintiffs’ Complaint has no such allegations.
  8                2.       Plaintiffs do not sufficiently identify the terms of the ERISA
                            plans that allegedly confer the benefits Plaintiffs seek.
  9
10          First, Plaintiffs do not even respond to Cigna’s argument that Plaintiffs have not

11    identified a single plan governed by ERISA. This threshold failure warrants dismissal

12    of the ERISA claim, and Plaintiffs have failed to offer any argument or authority to

13    suggest otherwise. Second, citing to Fifth Circuit law, Plaintiffs erroneously contend

14    that they have provided sufficient “notice” as to the provisions Cigna allegedly breached

15    with their references to possible ranges of reimbursement rates and options for

16    reimbursement methodologies. (Opp. at 12.) Under Ninth Circuit law, however, these

17    broad generalizations are not enough. Plaintiffs must allege facts that establish the

18    existence of an ERISA plan as well as the provisions of the plan that entitle them to

19    benefits. See Forest Ambulatory Surgical Assocs., L.P. v. United Healthcare Ins. Co.,

20    No. 10-CV-04911-EJD, 2011 U.S. Dist. LEXIS 75433, at *14 (N.D. Cal. July 13, 2011)

21    (dismissing an ERISA claim where plaintiff’s allegations about the plan’s provisions

22    that defendants allegedly violated were too general).2 Plaintiffs’ suggestion that Cigna

23    must have violated all possible methodologies and potential reimbursement rates within

24
      2
25     Courts in other jurisdictions agree that Plaintiffs’ allegations fall short of the standard.
      See, e.g., Sanctuary Surgical Ctr., Inc. v. Unitedhealth Grp., Inc., No. 10-81589-CIV-
26    HURLEY, 2013 U.S. Dist. LEXIS 5497, at *11, *18 (S.D. Fla. Jan. 14, 2013)
27    (dismissing ERISA claim because despite providing “specific language from six
      summary plan descriptions” plaintiff failed to provide “a precise description of the
28    relevant coverage and exclusionary language of all plans”).
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  1   a range for a variety of services is insufficient. Notably, Plaintiffs fail to address the
  2   authority Cigna cites which makes clear that references to potential ranges of rates of
  3   reimbursement are inadequate. (See Mot. at 10-11.)
  4         Furthermore, Plaintiffs’ suggestion that “virtually identical allegations” have
  5   survived motions to dismiss in this District is inaccurate. (Opp. at 13.) Although the
  6   court in the UnitedHealthcare Action eventually found the plaintiffs’ allegations
  7   regarding the plan terms were sufficient, that was only after two dismissals for failure
  8   to adequately plead them. UnitedHealthcare Action, 2020 U.S. Dist. LEXIS 81195, at
  9   *16-17 (Feb. 21, 2020); UnitedHealthcare Action, 2020 U.S. Dist. LEXIS 153773, at
10    *9-10 (July 29, 2020). The version that ultimately satisfied the court contained
11    allegations that stand in stark contrast to those in Plaintiffs’ Complaint. The plaintiffs
12    there actually “identif[ied] relevant plan terms from sample summaries of benefit
13    plans,” which were attached to the Second Amended Complaint as exhibits.
14    UnitedHealthcare Action, 2020 U.S. Dist. LEXIS 249683, at *15.3 Here, Plaintiffs have
15    not even identified the plans, much less attached them to the Complaint.
16          C.     Plaintiffs’ State-Law Claims Are Preempted Under ERISA.
17          Plaintiffs fail to explain how their state law claims escape ERISA’s broad conflict
18    preemption provisions. Plaintiffs agree that any state law claim that either makes
19    “reference to” or has a “connection with” an ERISA plan is preempted. (Opp. at 19.)
20    But in arguing that their state-law claims are not preempted, Plaintiffs ignore the explicit
21    references to the applicable plans set forth in their Complaint and the undeniable
22    connection those plans have with Plaintiffs’ claims. Even assuming Plaintiffs have
23    sufficiently alleged an obligation arising from oral representations or trade and custom
24    (which they have not), by Plaintiffs’ own allegations, any purported obligation is
25
      3
        Plaintiffs also cite to the Cigna TML Action for this proposition, but that decision is
26    inconsistent with UnitedHealthcare Action and the Ninth Circuit’s directive in Glendale
27    Outpatient Surgery Ctr. v. United Healthcare Servs., 805 F. App’x 530, 531 (9th Cir.
      2020) and Brand Tarzana Surgical Inst., Inc. v. Blue Cross Blue Shield of Ill., 833 F.
28    App’x 714, 715 (9th Cir. 2021).
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  1   allegedly only an obligation to pay Plaintiffs “on the same terms as provided for in the
  2   plans.” (Compl. ¶¶ 160, 180.) The terms of the plans are therefore necessarily the
  3   cornerstone of all of Plaintiffs’ state law claims. Plaintiffs do not even attempt to square
  4   their own allegations with their position that their claims do not “require the existence
  5   of an ERISA plan to adjudicate them.” (Opp. at 21.)
  6             Plaintiffs rely on the UnitedHealthcare Action for support but fail to acknowledge
  7   that the court actually dismissed with prejudice the plaintiffs’ implied contract claim in
  8   that case, finding that it was preempted by ERISA. UnitedHealthcare Action, 2020 U.S.
  9   Dist. LEXIS 153773, at *13. The court determined that the plaintiffs’ allegation that
10    United “interpret[ed] the plan in an unduly restrictive manner so as to deny coverage
11    and benefits”—the exact same allegation Plaintiffs make in this case—was a “reference
12    to an ERISA plan” that triggered ERISA preemption. Id. Although the court did not
13    reach the same conclusion with respect to the remaining state law claims, it should have,
14    given the allegations supporting those claims. The remaining claims are actually tied
15    even more directly to the plans than the implied contract claim because Plaintiffs allege
16    that the basic obligation Plaintiffs seek to enforce with those claims is Cigna’s alleged
17    obligation to pay Plaintiffs “on the same terms as provided for in the plans.” (Compl.
18    ¶¶ 160, 180.) In that regard, the UnitedHealthcare Action was incorrectly decided and
19    is an outlier even within this District. For example, the court in two recent decisions in
20    the Women’s Recovery Action and the Cigna TML Action dismissed with prejudice
21    each of the plaintiffs’ state law claims—which are nearly identical to the state law
22    claims asserted in this case—as preempted to the extent the claims are governed by an
23    ERISA plan. Women’s Recovery Action, 2022 U.S. Dist. LEXIS 26463, at *22-23
24    (Feb. 2, 2022); Request for Judicial Notice in Support of Cigna Defendants’ Reply in
25    Support of Motion to Dismiss (“Cigna RJN”), Ex. A at 6-7. In doing so, both courts
26    rejected the exact same arguments Plaintiffs press here—that Plaintiffs’ state law claims
27    purportedly arise from “independent contracts and agreements with Plaintiffs.” (Opp.
28    at 21.)

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  1         Plaintiffs also cite to four, much older, decisions from this District4 for support.
  2   (Opp. at 21.) However, the preemption analysis in each of those cases is easily
  3   distinguishable because in those cases the third-party provider had alleged an obligation
  4   that was truly independent of the applicable benefit plans. In particular, the providers
  5   did not allege that the insurance company’s purported independent obligation was to
  6   pay “on the same terms as provided for in the plans”5 as Plaintiffs do here. If they had,
  7   the claims would have been preempted by ERISA. These decisions offer no reason why
  8   this Court should depart from the reasoning in the Women’s Recovery Action and the
  9   Cigna TML Action to conclude that each and every one of Plaintiffs’ state law claims
10    is preempted by ERISA and should be dismissed with prejudice.
11          Plaintiffs’ reference to ERISA’s savings clause also does not assist Plaintiffs’
12    preemption arguments. (Opp. at 24-25.) Plaintiffs argue that because their UCL claim
13    is based, in part, on alleged violations of state insurance regulations, the claim is not
14    preempted. (Id.) But for the reasons discussed in Cigna’s moving papers, Plaintiffs have
15    not sufficiently alleged a violation of any insurance regulation. See Berger v. Home
16    Depot U.S.A., Inc., 476 F. Supp. 2d 1174, 1177 (C.D. Cal. 2007). And even if they had,
17    Plaintiffs would still not be able to avoid ERISA preemption. The savings clause, which
18
19    4
       Hoag Mem’l Hosp. v. Managed Care Adm’rs, 820 F. Supp. 1232, 1236 (C.D. Cal.
20    1993); The Meadows v. Employers Health Ins., 47 F.3d 1006, 1008 (9th Cir. 1995);
      Catholic Healthcare West-Bay Area v. Seafarers Health & Benefits Plan, 321 Fed.
21    App’x 563, 564 (9th Cir. 2008); Forest Ambulatory Surgical Assocs., L.P. v. United
22    Healthcare Ins. Co., No. 12-2916 PSG (FFMx), 2013 U.S. Dist. LEXIS 190703, at *9
      (C.D. Cal. Mar. 12, 2013)).
23    5
        In addition, in each of those four cases, the provider did not have an assignment of
24    benefits from its patients to pursue a derivative claim. Rather, the provider’s only
      recourse was a direct claim against the insurance company. Hoag, 820 F. Supp. at 1236-
25
      37; The Meadows, 47 F.3d at 1008, 1010; Catholic Healthcare, 321 Fed. App’x at 564-
26    65; Forest Ambulatory, 2013 U.S. Dist. LEXIS 190703, at *27. In each case, this fact
      was central to the court’s conclusion that the providers’ state law claims were not
27
      preempted. See id. Here, however, Plaintiffs profess to have a valid assignment of
28    benefits from each of the 175 Patients. (Compl. ¶¶ 21-22, 45, 73, 93, 132.)

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  1   operates as “a carve-out from the preemption clause,” applies only to fully-insured, as
  2   opposed to self-funded, plans. Williby v. Aetna Life Ins. Co., 867 F.3d 1129, 1135 (9th
  3   Cir. 2017) (citations omitted). In other words, any state insurance regulation is
  4   preempted to the extent it purports to regulate self-funded ERISA plans. Id. at 1136.
  5   Here, Plaintiffs have failed to identify any plans at all, much less any fully-insured
  6   ERISA plans to which the savings clause might apply.
           D.    Plaintiffs Fail To Defend Their State Law Claims.
  7
  8                1.       Plaintiffs do not identify the substance of the relevant contract
                            terms that Cigna allegedly breached.
  9
10           To begin, Plaintiffs do not even address Cigna’s argument regarding their
11    threshold failure to identify even a single contract governed by California law. (Mot. at
12    19.)   This omission alone—and Plaintiffs’ failure to respond to the argument
13    altogether—confirms this claim should be dismissed. Instead, Plaintiffs defend their
14    allegations only by arguing that they are sufficient because Plaintiffs are not required to
15    “quote the exact contract language or attach a copy of the contract.” (Opp. at 26.) But
16    Plaintiffs are required to plead “the substance of the relevant contract terms”—and
17    because they do not do so, their claim fails. See Hansen v. Scram of Cal., No. CV 17-
18    01474-CAS (PLAx), 2017 U.S. Dist. LEXIS 235754, at *22 (C.D. Cal. Sept. 18, 2017).
19    Plaintiffs’ references to possible reimbursement rates within a range and options for
20    reimbursement methodology do not satisfy this requirement.
21           Plaintiffs again rely on non-binding decisions (UnitedHealthcare Action and
22    Cigna TML Action) insisting that this District has “on multiple occasions” found the
23    same allegations sufficient to state a claim for breach of a non-ERISA contract. (Opp.
24    at 26.) But Plaintiffs neglect to mention that courts in this District have also rejected
25    nearly identical allegations as insufficient to state a plausible claim for breach of a
26    written contract under California law. In the Women’s Recovery Action, Judge
27    Holcomb noted the plaintiffs’ failure “to separate the ERISA plans from the non-ERISA
28    plans” and found the providers’ generalized allegations regarding the contract

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  1   provisions to be inadequate. 2022 U.S. Dist. LEXIS 26463, at *26-27 (Feb. 2, 2022).
  2   Here too, Plaintiffs lump together all unspecified ERISA plans and non-ERISA policies
  3   and, without support, conclude that they all contain the same general ranges of
  4   reimbursement rates and options for reimbursement methodologies.6 These broad
  5   generalizations that purportedly apply equally to all ERISA plans and non-ERISA
  6   policies are implausible and insufficient to state a cognizable claim for relief.
  7                2.       Plaintiffs’ bad-faith claim is conclusory and duplicative.
  8         Despite the fact that the UnitedHealthcare Action, the Cigna TML Action, and
  9   the Women’s Recovery Action each conclusively dismissed a nearly identical bad-faith
10    claim, Plaintiffs raise it a fourth time here. In defense of its claim, Plaintiffs recite the
11    same conclusory allegations regarding the list of regulations they believe Cigna violated
12    and which have been consistently rejected by courts in this District. (Opp. at 28-29.)
13          Plaintiffs’ attempt to distinguish the authority Cigna cites—which makes clear
14    that conclusory allegations regarding purported “unreasonableness” such as the ones
15    Plaintiffs rely on are insufficient—is unavailing. Plaintiffs note that the cases Cigna
16    relies on are not “insurance bad faith case[s]” but fail to explain why this makes a
17    difference. To state a claim based on the implied covenant of good faith and fair dealing
18    under California law—in any context—a plaintiff must set forth non-conclusory
19    allegations regarding misconduct beyond a mere breach of the contract. See Careau &
20    Co. v. Sec. Pac. Bus. Credit, Inc., 222 Cal. App. 3d 1371, 1395 (1990). Plaintiffs have
21    not done so. And they have not cited any authority to suggest they are relieved of these
22    pleading requirements simply because this case involves an insurance dispute.
23
24
25    6
        On its face, the public resource Plaintiffs reference appears only to relate to ERISA
26    plans, as it refers to “[t]he plan sponsor (your employer or other organization),” which
      is a term of art applicable to plans governed by ERISA. See 29 U.S.C. § 1002(16)(B).
27
      Plaintiffs cannot rely on this ERISA-related resource to plausibly state a claim under
28    California law based on non-ERISA policies.

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  1                3.       Plaintiffs do not identify any alleged conduct that might form
  2                         the basis of an implied contract claim.
            Plaintiffs agree that an implied contract must be based on conduct alone and
  3
      cannot be based on express words—whether written or oral. (Opp. at 30.) They attempt
  4
      to explain away their implied contract allegations, which are based on express words,
  5
      by asserting that their implied contract claim is “in the alternative to their express
  6
      contract claims.” (Id.) But the implied contract claim itself is based directly on express
  7
      words: the allegations forming the basis of Plaintiffs’ fourth claim for relief are
  8
      specifically based on “network gap” provisions in “the health insurance plans at issue”
  9
      (i.e., express written words) and alleged “promises by Defendants to pay” (i.e., express
10
      oral words). (Compl. ¶¶ 167-68.) These allegations are confusingly misplaced rendering
11
      the basis for the implied contract claim entirely indiscernible. For this reason alone, the
12
      claim should be dismissed.
13
            Contrary to the allegations in the Complaint, Plaintiffs now suggest, in their
14
      Opposition, that this claim is based solely on alleged “conduct.” (Opp. at 30.) But even
15
      the “conduct” Plaintiffs identify is insufficient to plead an implied contract claim. First,
16
      Plaintiffs point to Cigna’s alleged past “payments for services” as a “course of conduct”
17
      giving rise to an implied contract claim. (Id.) But Plaintiffs ignore Cigna’s authority
18
      which makes clear that unspecified past payments are not enough to state a cognizable
19
      implied contract claim. See, e.g., IV Sols., Inc. v. United HealthCare Servs., Inc., Nos.
20
      CV 16-9598-MWF (AGRx), CV 17-3974-MWF (AGRx), 2017 U.S. Dist. LEXIS
21
      210782, at *46 (C.D. Cal. Sept. 27, 2017). And this is particularly true where, as here,
22
      Plaintiffs describe the alleged past payments as “sporadic[]” and “diminishing” over
23
      time. (Opp. at 31.) The law does not imply a promise to pay a certain amount on all
24
      future claims based on a “sporadic” and “diminishing” pattern of past payments.
25
            Second, Plaintiffs refer to their baseless conclusion, made “on information and
26
      belief,” that Cigna has an “inadequate network” of providers. (Opp. at 30.) This
27
      allegation, however, does not describe any conduct that Cigna engaged in that
28

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  1   purportedly creates an enforceable implied obligation to pay Plaintiffs. But, in any
  2   event, Plaintiffs disregard the authority Cigna cites which confirms that bare
  3   accusations regarding the sufficiency of a provider network, such as these, are
  4   inadequate. See Casa Bella Recovery Int’l, Inc. v. Humana Inc., Nos. SACV 17-01801
  5   AG (JDEx), 2017 U.S. Dist. LEXIS 207148, at *13-14 (C.D. Cal. Nov. 27, 2017).
  6         Furthermore, Plaintiffs fail to explain how their references to “prior
  7   authorization” and “verification” amounts to “conduct” sufficient to support an implied
  8   contract claim. Nor do they cite any case in which the court found that it did. In fact,
  9   these are the identical references that courts in similar cases have rejected. See, e.g.,
10    Humana TML Action, 2018 U.S. Dist. LEXIS 228980, at *10 (C.D. Cal. Nov. 26, 2018)
11    (dismissing implied contract claim with prejudice because plaintiffs’ broad allegations
12    that they expected to be paid based on alleged authorization and verification of benefits
13    were insufficient to put the defendants on notice regarding any specific promises);
14    Women’s Recovery Action, No. 8:20-cv-00102-JWHADSx, 2022 U.S. Dist. LEXIS
15    26463, at *29 (C.D. Cal. Feb. 2, 2022) (dismissing breach of implied contract claim
16    with prejudice because “Plaintiffs concede that actions such as verifying benefits are
17    insufficient to constitute an implied contract, yet actions such as verifying benefits are
18    the basis of Plaintiffs’ claims”).
19          Finally, with respect to Cigna’s argument based on lack of consideration,
20    Plaintiffs respond that Cigna somehow “misinterpret[s]” Plaintiffs’ claim. (Opp. 31.)
21    But Plaintiffs fail to explain how this is so. The concept is well-grounded in the law: a
22    contract claim based on a preexisting obligation—such as Plaintiffs allege—fails for
23    lack of consideration. See U.S. Ecology, Inc. v. State of Cal., 92 Cal. App. 4th 113, 129
24    (2001) (“A promise to perform a preexisting legal duty is not supported by
25    consideration.”). This is the exact reason other courts in this District have dismissed
26    nearly identical implied contract claims. See Cigna TML Action, 2021 U.S. Dist.
27    LEXIS 162219, at *18 (dismissing implied contract claim for lack of consideration
28    because plaintiff failed “to allege the promises at the heart of Defendants’ alleged

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  1   implied and oral contracts contained any additional guarantees than those guarantees
  2   already contained in the written contract”); IV Sols., Inc., 2017 U.S. Dist. LEXIS
  3   223123 at *31 (dismissing implied contract claim because any promise to pay for past
  4   services “would have lacked consideration”).
  5                 4.       Plaintiffs fail to defend their breach of oral contract claim.
  6          In its moving papers, Cigna argued that Plaintiffs’ oral contract claim fails
  7   because (1) it lacks any consideration, and (2) even if there was valid consideration, the
  8   mere verification of coverage and pre-authorization is insufficient to form a valid
  9   contract. Plaintiffs’ response misapprehends the consideration analysis. According to
10    Plaintiffs, consideration can take the form of “prejudice” or an agreement to suffer a
11    “prejudice” and because Plaintiffs “suffered a detriment,” their rendering of “SUD
12    treatment” is consideration for the oral contract. (Opp. at 34.) But the problem with
13    Plaintiffs’ logic is that Plaintiffs have alleged a pre-existing duty to perform the very
14    obligation that it now argues suffices as consideration for their oral contract claim (i.e.,
15    to pay Plaintiffs as provided in the applicable plans). The “detriment” Plaintiffs
16    describe—“the SUD treatment they rendered”—is the same act that gave rise to their
17    preexisting duty. There is no separate consideration here. And Plaintiffs offer no
18    authority to the contrary.
19           Again, Plaintiffs rely on the UnitedHealthcare Action and the Women’s
20    Recovery Action to suggest that courts in this District agree that Plaintiffs’ allegations
21    are sufficient. But again Plaintiffs fail to acknowledge that in the Cigna TML Action,
22    the court dismissed Plaintiffs’ oral contract claim for lack of consideration, explaining
23    that “since Defendants were already legally obligated to pay these rates under the
24    express contract (according to Plaintiffs), the promise to pay identical rates for the same
25    services rendered cannot also serve as consideration for the written and oral contracts.”
26    See Cigna TML Action, 2021 U.S. Dist. LEXIS 162219, at *19.
27           Consideration aside, Plaintiffs also fail to explain how their allegations regarding
28    “prior authorizations and verifications” are sufficient to state a claim for relief. Plaintiffs

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  1   attempt to overcome the long line of authority confirming that “prior authorizations and
  2   verifications” cannot form the basis of an enforceable agreement by relying on the Ninth
  3   Circuit’s unpublished decision in Bristol SL Holdings, Inc. v. Cigna Health & Life Ins.
  4   Co., No. 20-56122, 2022 U.S. App. LEXIS 1109, at *2 (9th Cir. Jan. 14, 2022). (Opp.
  5   at 32.) In doing so, Plaintiffs overstate the holding in Bristol. At issue in Bristol was
  6   not a mere verification of coverage or prior authorization. Rather, plaintiffs in that case
  7   introduced evidence of agreements regarding “specific and individualized treatment
  8   plans . . . as well as agreements over specific percentages of UCR rates for the services
  9   rendered.” Id. at *2. Here, by contrast, Plaintiffs have not alleged any promise to pay a
10    “specific percentage of UCR rates” for a “specific and individualized treatment plan.”
11    Rather, Plaintiffs allege only that “prior authorizations and verifications” occurred
12    without any further details and that Cigna also allegedly promised to pay on the same
13    terms that the plans provide—without specifying any particular amount promised for
14    any particular service. (Compl. ¶ 173.) These are precisely the type of allegations that
15    have long been rejected as insufficient. (See Mot. at 23-24.) Indeed, the court in the
16    Women’s Recovery Action had no trouble dismissing nearly identical allegations as
17    insufficient for this exact reason. Women’s Recovery Action, 2022 U.S. Dist. LEXIS
18    26463, *30-31.
19          Finally, Plaintiffs question Cigna’s reliance on Casa Bella Recovery, 2017 U.S.
20    Dist. LEXIS 207148, at *13, pointing out that in a later decision the court denied
21    Humana’s motion to dismiss the oral contract claim. (Opp. at 32 n.14 (citing Casa Bella
22    Recovery Int’l, Inc. v. Humana, Inc., No. SACV 17-01801 AG (JDEx), 2018 U.S. Dist.
23    LEXIS 237163 (C.D. Cal. Feb. 26, 2018).) But the court did so based on plaintiff’s
24    inclusion of additional allegations regarding “the terms of the agreement” to support its
25    claim, including the exact amount that Humana allegedly agreed to pay (60% of
26    plaintiff’s billed charges) and the exact amount Humana allegedly paid (0% of
27    plaintiff’s billed charge). This procedural history supports Cigna’s argument that mere
28    “prior authorizations and verifications” cannot form the basis of an enforceable oral

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  1   agreement and is consistent with the holding in Bristol. (See Mot. at 23-24.)
  2                5.       Plaintiffs fail to respond to Cigna’s argument regarding defects
  3                         in their promissory estoppel claim.
            In its moving papers, Cigna explained that Plaintiffs’ promissory estoppel claim
  4
      fails because a written contract “governs the same subject matter as the alleged
  5
      promise.” (Mot. at 26.) Plaintiffs failed to respond to this argument altogether. This
  6
      omission constitutes a concession of that argument and the claim should be dismissed
  7
      for this reason alone. See Johnson v. Macy, 145 F. Supp. 3d 907, 918 (C.D. Cal. 2015).
  8
            Instead, Plaintiffs responded only that their allegations are otherwise sufficient
  9
      to state a plausible claim for relief. (Opp. at 34-35.) But, for the reasons explained in
10
      the moving papers, these allegations are not enough. (Mot. at 28.) Plaintiffs’ allegation
11
      that Cigna promised to pay an unspecified percentage of an unidentified amount is not
12
      a sufficiently definite promise to support a promissory estoppel claim. (Compl. ¶ 180.)
13
14                 6.       Plaintiffs fail to defend their UCL claim.
                            a.    Plaintiffs lack standing to pursue a claim under the UCL.
15
16          Plaintiffs agree that Amalgamated Transit is controlling and precludes them from

17    pursuing claims under the UCL via assignment. (Opp. at 36.) Plaintiffs attempt to

18    escape the Supreme Court’s holding by professing—contrary to their repeated

19    allegations throughout the Complaint—that they are not seeking benefits pursuant to

20    assignments from their patients. (See, e.g., Compl. ¶¶ 21-22, 45, 73, 93, 132.) Instead,

21    Plaintiffs claim that they are seeking to recover for their own alleged injury in the form

22    of “lost money or property.” (Opp. at 37.) The “lost money or property” that Plaintiffs

23    seek to recover is simply the “benefits” Plaintiffs claim are owed for rendering services

24    that are allegedly “covered” under the plans to the patients at issue. (See, e.g., Compl.

25    ¶¶ 19-20, 91, 93, 134, 152, 161, 173, 180.) Plaintiffs admit they are not parties to the

26    plans or policies that provide “benefits” for services that are “covered” under those

27    plans and policies. (See, e.g., Compl. ¶¶ 21-22, 45, 73, 93, 132.) Plaintiffs’ only

28    mechanism for attempting to access those “benefits” is via assignment. For this reason,

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  1   the court in In re Wellpoint, Inc. Out-of-Network “UCR” Rates Litigation rejected the
  2   providers’ argument, which Plaintiffs make here, that they could bring suit under the
  3   UCL because they too had suffered their own injury. 903 F. Supp. 2d 880, 899.
  4                       b.    Plaintiffs fail to allege facts to support a violation under
                                the “unlawful” prong.
  5
  6         Plaintiffs fail to respond altogether to Cigna’s arguments its moving papers as to

  7   why Plaintiffs has failed to assert a claim under the “unfair” or “fraud” prongs and

  8   therefore concede the arguments. (Mot. at 31.) With respect to the “unlawful” prong,

  9   Cigna demonstrated that Plaintiffs fail this prong as well because, while Plaintiffs allege

10    that Cigna violated a long list of statutes and regulations, Plaintiffs omit any factual

11    allegations showing that a violation actually occurred. (Mot. at 32.) In response,

12    Plaintiffs simply recited the allegations from the Complaint in which they concluded

13    that Cigna violated those statutes.      They did not cite to any supporting factual

14    allegations. (Opp. at 38.) Plaintiffs’ bare conclusion alone is not enough. See, e.g.,

15    Prime Healthcare Servs.-Shasta, LLC v. United Healthcare Servs., No. 2:16-cv-01773-

16    KJM-CKD, 2017 U.S. Dist. LEXIS 162863, at *10 (E.D. Cal. Sept. 29, 2017);

17    Daugherty v. American Honda Motor Co., Inc., 144 Cal. App. 4th 824, 837 (2006).

18                        c.    Plaintiffs do not dispute that they have alleged an
                                adequate remedy at all.
19
            Plaintiffs concede that damages are unavailable for violations of the UCL. (Opp.
20
      at 38-39.) Plaintiffs respond instead that they seek equitable relief under the UCL, not
21
      damages. (Opp. at 39-40.) But Plaintiffs’ mere request for equitable relief under the
22
      UCL is insufficient. Plaintiffs must also (1) demonstrate they have no adequate remedy
23
      at law and (2) adequately plead entitlement to equitable relief—neither of which
24
      Plaintiffs have done.
25
            First, Plaintiffs suggest that they are permitted to plead damages and an
26
      entitlement to equitable relief in the alternative. For support, Plaintiffs cite to a non-
27
      binding decision from the Southern District of California, which Plaintiffs characterize
28

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  1   as the “prevailing view.” See Goldstein v. Gen. Motors LLC, 517 F. Supp. 3d 1076,
  2   1088 (S.D. Cal. 2021). But the Goldstein court itself acknowledged a split among courts
  3   within the Ninth Circuit as to whether a plaintiff should be allowed to seek equitable
  4   relief under the UCL where it has alternatively sought damages. Id. The prevailing view
  5   in the Central District is that a plaintiff may not.7
  6          Second, Plaintiffs fail to plead a plausible claim for equitable relief. While they
  7   purport to seek equitable relief—in the form of a temporary restraining order,
  8   preliminary injunction, permanent injunction, and appointment of receiver over
  9   Cigna—they do not even attempt to explain how they have plausibly pled an entitlement
10    to any of these extraordinary remedies. (Opp. at 38-39.) In fact, in Goldstein, the court
11    ultimately dismissed the UCL claim for this exact reason. There, as here, the plaintiff
12    failed to allege that it would be “irreparably harmed or denied an adequate remedy at
13    law in the absence of equitable relief.” Goldstein, 517 F. Supp 3d at 1088. Likewise,
14    Plaintiffs do not—and cannot—allege any of the elements necessary to plead an
15    entitlement to a receiver. Cigna noted the absence of any of these allegations (Mot. at
16    33 n.8), and Plaintiffs neglected to respond. In sum, even if Plaintiffs could seek
17    equitable relief in the alternative under the UCL (which is not the law in the Central
18    District), Plaintiffs have not adequately pled entitlement to any equitable relief.
19    III.   CONCLUSION
20           For the foregoing reasons, Plaintiffs’ Complaint should be dismissed pursuant to
21    Federal Rule of Civil Procedure 12(b)(6).
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       See, e.g., Silvercrest Realty, Inc. v. Great Am. E&S Ins. Co., No. SACV-11-01197,
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      2012 U.S. Dist. LEXIS 201805, at *7 (C.D. Cal. Apr. 4, 2012); Malibu Behav. Health
26    Servs. v. Magellan Healthcare, Inc., No. 2:20-cv-01731-ODW (PVCx), 2021 U.S. Dist.
      LEXIS 113032, at *11-12 (C.D. Cal. June 16, 2021); Women’s Recovery Action, No.
27
      20-cv-00102-JWH-ADSx, 2022 U.S. Dist. LEXIS 26463, at *36 (C.D. Cal. Feb 2.,
28    2022).

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  1   Dated: May 13, 2022     Respectfully submitted,
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  4
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  7                           COMPANY; CIGNA BEHAVIORAL HEALTH, INC.;
                              CIGNA BEHAVIORAL HEALTH OF CALIFORNIA,
  8                           INC.; CIGNA HEALTH MANAGEMENT, INC.
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 1                                  CERTIFICATE OF SERVICE
             I hereby certify that on May 13, 2022, I electronically filed the CIGNA
 2
     DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS with the Clerk
 3
     of the court for the United States District Court, Central District of California by using
 4   the Court’s CM/ECF system.
 5           Participants in the case who are registered CM/ECF users will be served by the
 6   Court’s CM/ECF system.

 7           I declare under penalty of perjury under the laws of the United States that the
     forgoing is true and correct.
 8
             Executed on the 13th day of May, 2022 at Los Angeles, California.
 9

10                                              /s/ Elizabeth A. Sperling      ________
11                                                 Elizabeth A. Sperling
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25                        CIGNA DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
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